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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    NANCY GIMENA HUISHA-HUISHA, et
    al.,

                      Plaintiffs,

    v.                                     Civil Action No. 21-100 (EGS)

    ALEJANDRO MAYORKAS, in his
    official capacity, Secretary,
    Department of Homeland
    Security, et al.,

                     Defendants.

                              MEMORANDUM OPINION

         Plaintiffs—a group of asylum-seeking families who fled to

the United States—bring this lawsuit against Alejandro Mayorkas,

in his official capacity as Secretary of Homeland Security, and

various other federal government officials (“Defendants” or the

“government”) for violations of the Administrative Procedure Act

(“APA”), 5 U.S.C. § 701, et seq.; the Immigration and

Nationality Act (“INA”), 8 U.S.C. § 1101, et seq.; and the

Foreign Affairs Reform and Restructuring Act of 1998 (“FARRA”),

8 U.S.C. § 1231 note; and the Public Health Service Act of 1944,

42 U.S.C § 201, et seq. See generally Second Am. Compl., ECF No.

131. 1 Pending before the Court is Plaintiffs’ Motion for Partial



1 When citing electronic filings throughout this Memorandum
Opinion, the Court cites to the ECF page number, not the page
number of the filed document.
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Summary Judgment. 2 See Mot. Partial Summ. J., ECF No. 144. Upon

consideration of the motion, the responses and replies thereto,

the applicable law, the entire record, and for the reasons

stated below, the Court GRANTS Plaintiffs’ motion.

I.   Background

       A. Factual Background

     Since 1893, federal law has provided federal officials with

the authority to stem the spread of contagious diseases from

foreign countries by prohibiting, “in whole or in part, the

introduction of persons and property from such countries.” Act

of February 15, 1893, ch. 114, § 7, 27 Stat. 449, 452 (“1893

Act”). Under current law:

          Whenever the Surgeon General determines that
          by reason of the existence of any communicable
          disease in a foreign country there is serious
          danger of the introduction of such disease
          into the United States, and that this danger
          is so increased by the introduction of persons
          or   property  from   such   country   that  a
          suspension of the right to introduce such
          persons and property is required in the
          interest of the public health, the Surgeon
          General,   in  accordance   with   regulations
          approved by the President, shall have the
          power to prohibit, in whole or in part, the
          introduction of persons and property from such
          countries or places as he shall designate in

2 On August 12, 2022, the Court converted Plaintiffs’ second
motion for preliminary injunction to a motion for partial
summary judgment, and consolidated the second motion for
preliminary injunction with a determination on the merits with
regard to the issue of whether the Title 42 policy is arbitrary
and capricious under the Administrative Procedure Act (“APA”).
See Fed. R. Civ. P. 65(a)(2).
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          order to avert such danger, and for such
          period of time as he may deem necessary for
          such purpose.

42 U.S.C. § 265 (“Section 265”). In 1966, the Surgeon General’s

Section 265 authority was transferred to the Department of

Health and Human Services (“HHS”), which in turn delegated this

authority to the Centers for Disease Control and Prevention

(“CDC”) Director. See P.J.E.S. v. Wolf, 502 F. Supp. 3d 492, 503

(D.D.C. 2020); 31 Fed. Reg. 8855 (June 25, 1966), 80 Stat. 1610

(1966).

     On March 20, 2020, as the COVID-19 virus spread globally,

HHS issued an interim final rule pursuant to Section 265 that

aimed to “provide[] a procedure for CDC to suspend the

introduction of persons from designated countries or places, if

required, in the interest of public health.” Interim Final Rule,

Control of Communicable Diseases; Foreign Quarantine: Suspension

of Introduction of Persons Into United States From Designated

Foreign Countries or Places for Public Health Purposes, 85 Fed.

Reg. 16559-01, 2020 WL 1330968, (March 24, 2020) (“Interim Final

Rule”). Pursuant to the Interim Final Rule, the CDC Director

could “suspend the introduction of persons into the United

States.” Id. at 16563. The Interim Final Rule stated, in

relevant part:

          (1) Introduction into the United States of
          persons from a foreign country (or one or more
          political subdivisions or regions thereof) or

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          place means the movement of a person from a
          foreign country (or one or more political
          subdivisions or regions thereof) or place, or
          series of foreign countries or places, into
          the United States so as to bring the person
          into contact with persons in the United
          States, or so as to cause the contamination of
          property in the United States, in a manner
          that the Director determines to present a risk
          of transmission of a communicable disease to
          persons or property, even if the communicable
          disease    has   already    been   introduced,
          transmitted, or is spreading within the United
          States;

          (2) Serious danger of the introduction of such
          communicable disease into the United States
          means the potential for introduction of
          vectors of the communicable disease into the
          United States, even if persons or property in
          the United States are already infected or
          contaminated with the communicable disease;
          and

          (3) The term “Place” includes any location
          specified by the Director, including any
          carrier, as that term is defined in 42 CFR
          71.1, whatever the carrier’s nationality.

Id. at 16566-67.

     The CDC’s interim rule went into effect immediately. Id. at

16565. The CDC explained that, pursuant to 5 U.S.C. 553(b)(3)(B)

of the APA, HHS had concluded that there was “good cause” to

dispense with prior notice and comment. Id. Specifically, the

CDC stated that “[g]iven the national emergency caused by COVID-

19, it would be impracticable and contrary to the public health—

and, by extension, the public interest—to delay these

implementing regulations until a full public notice-and-comment

process is completed.” Id.
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     Pursuant to the Interim Final Rule, the CDC Director issued

an order suspending for 30 days the introduction of “covered

aliens,” which he defined as “persons traveling from Canada or

Mexico (regardless of their country of origin) who would

otherwise be introduced into a congregate setting in a land Port

of Entry [(“POE”)] or Border Patrol station at or near the

United States borders with Canada and Mexico.” Notice of Order

Under Sections 362 and 365 of the Public Health Service Act

Suspending Introduction of Certain Persons From Countries Where

a Communicable Disease Exists, 85 Fed. Reg. 17060-02, 17061,

2020 WL 1445906 (March 26, 2020) (“March 2020 Order”). The March

2020 Order declared that “[i]t is necessary for the public

health to immediately suspend the introduction of covered

aliens” and “require[d] the movement of all such aliens to the

country from which they entered the United States, or their

country of origin, or another location as practicable, as

rapidly as possible.” Id. at 17067. The CDC Director then

“requested that [the Department of Homeland Security (“DHS”)]

implement th[e] [March 2020 Order] because CDC does not have the

capability, resources, or personnel needed to do so.” Id. The

CDC Director also noted that U.S. Customs and Border Protection

(“CBP”), a federal law enforcement agency of DHS, had already

“developed an operational plan for implementing the order.” Id.



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      Soon thereafter, the CBP issued a memorandum on April 2,

2020 establishing its procedures for implementing the March 2020

Order. See Ex. E to Cheung Decl. (“CAPIO Memo”), ECF No. 57-5 at

15. The CAPIO Memo instructed that agents may determine whether

individuals are subject to the CDC’s order “[b]ased on training,

experience, physical observation, technology, questioning and

other considerations.” CAPIO Memo, ECF No. 57-5 at 15. If an

individual was determined to be subject to the order, they were

to be “transported to the nearest POE and immediately returned

to Mexico or Canada, depending on their point of transit.” Id.

at 17. Those who are “not amenable to immediate expulsion to

Mexico or Canada, will be transported to a dedicated facility

for limited holding prior to expulsion” to their home country.

Id.

      On April 22, 2020, the March 2020 Order was extended for an

additional 30 days. See Extension of Order Under Sections 362

and 365 of the Public Health Service Act; Order Suspending

Introduction of Certain Persons From Countries Where a

Communicable Disease Exists, 85 Fed. Reg. 22424-01, 2020 WL

1923282 (April 22, 2020) (“April 2020 Order”). The order was

then extended again on May 20, 2020 until such time that the CDC

Director “determine[s] that the danger of further introduction

of COVID-19 into the United States has ceased to be a serious

danger to the public health.” Amendment and Extension of Order

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Under Sections 362 and 365 of the Public Health Service Act;

Order Suspending Introduction of Certain Persons From Countries

Where a Communicable Disease Exists, 85 Fed. Reg. 31503-02,

31504, 2020 WL 2619696 (May 26, 2020) (“May 2020 Order”).

     On September 11, 2020, the CDC published the final rule.

See Control of Communicable Diseases; Foreign Quarantine:

Suspension of the Right To Introduce and Prohibition of

Introduction of Persons Into United States From Designated

Foreign Countries or Places for Public Health Purposes, 85 Fed.

Reg. 56424-01, 2020 WL 5439721, (Sept. 11, 2020) (Effective

October 13, 2020) (“Final Rule”). The Final Rule “defin[ed] the

phrase to ‘[p]rohibit, in whole or in part, the introduction

into the United States of persons’ to mean ‘to prevent the

introduction of persons into the United States by suspending any

right to introduce into the United States, physically stopping

or restricting movement into the United States, or physically

expelling from the United States some or all of the persons.’”

Id. at 56445. The CDC Director then replaced the March, April,

and May 2020 Orders with a new order on October 13, 2020. Order

Suspending the Right To Introduce Certain Persons From Countries

Where a Quarantinable Communicable Disease Exists, 85 Fed. Reg.

65806, 65808 (Oct. 16, 2020) (“October 2020 Order”).

     In February 2021, the President ordered the HHS Secretary

and the CDC Director, in consultation with the DHS Secretary, to

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“promptly review and determine whether termination, rescission,

or modification of the [October order and the September

regulation] is necessary and appropriate.” Exec. Order No.

14,010, § 4(ii)(A), 86 Fed. Reg. 8267, 8269 (Feb. 2, 2021). On

August 2, 2021, the CDC issued the order at issue in this case,

“Public Health Assessment and Order Suspending the Right to

Introduce Certain Persons from Countries Where a Quarantinable

Communicable Disease Exists,” which replaced and superseded the

October 2020 Order. Public Health Reassessment and Order

Suspending the Right to Introduce Certain Persons from Countries

Where a Quarantinable Communicable Disease Exists, 86 Fed. Reg.

42828 (“August 2021 Order”). The August 2021 Order stated that

“CDC has determined that an Order under 42 U.S.C. § 265 remains

necessary to protect U.S. citizens, U.S. nationals, lawful

permanent residents, personnel and noncitizens at the ports of

entry (POE) and U.S. Border Patrol stations, and destination

communities in the United States during the COVID-19 public

health emergency.” Id. at 42829-30. The August 2021 Order

continued to prohibit the introduction of “covered noncitizens”—

which is defined to include “family units”—into the United

States along the U.S. land and adjacent coastal borders. Id. at

7. The Court refers to the process developed by the CDC and

implemented by the August 2021 Order as the “Title 42 policy.”



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     On April 1, 2022, the CDC terminated the August 2021 Order,

with an implementation date of May 23, 2022. Public Health

Determination and Order Regarding Suspending the Right To

Introduce Certain Persons From Countries Where a Quarantinable

Communicable Disease Exists, 87 Fed. Reg. 19941, 19942. CDC

explained that “[w]hile earlier phases of the pandemic required

extraordinary actions by the government and society at large,”

“epidemiologic data, scientific knowledge, and the availability

of public health mitigation measures, vaccines, and therapeutics

have permitted the country to safely transition to more normal

routines.” Id. The agency explained that “although COVID-19

remains a concern, the readily available and less burdensome

public health mitigation tools to combat the disease render a

[Title 42 order] . . . unnecessary.” Id. at 19953. In view of

the changed circumstances, CDC stated that “the previously

identified public health risk is no longer commensurate with the

extraordinary measures instituted by the CDC Orders.” Id.

       B. Procedural History

     Plaintiffs filed this action on January 12, 2021. See

Compl., ECF No. 1. Plaintiffs filed a motion for class

certification on January 28, 2021, see Mot. Certify Class, ECF

No. 23; and they filed a motion for preliminary injunction on

February 5, 2021, see Mot. Prelim. Inj., ECF No. 57. On

September 16, 2021, the Court granted both motions. See Huisha-

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Huisha, 560 F. Supp. 3d at 155. The Court certified Plaintiffs’

class and preliminarily enjoined Defendants from expelling

Plaintiffs pursuant to the Title 42 policy. Id. In granting the

preliminary injunction, the Court concluded that Plaintiffs were

likely to succeed on the merits of their claim that Section 265

did not authorize deportations, that Plaintiffs would face grave

harm if they were expelled without the opportunity to seek

humanitarian relief, and that the balance of the equities and

public interest favored an injunction. Id. at 167, 172, 174.

     Defendants appealed the Court’s decision, and the United

States Court of Appeals for the District of Columbia Circuit

(“D.C. Circuit”) affirmed the preliminary injunction in part.

Huisha-Huisha, 27 F.4th at 735. The circuit court held that,

pursuant to Section 265, “the Executive can expel the Plaintiffs

from the country,” but “it cannot expel them to places where

they will be persecuted or tortured.” Id. at 722. Moreover, the

D.C. Circuit agreed with this Court’s findings that Plaintiffs

have established they will suffer irreparable harm absent a

preliminary injunction and that the balance of the equities

favored their request. Id. at 733.

     Although the CDC terminated the August 2021 Order one month

after the D.C. Circuit’s decision, see 87 Fed. Reg. at 19,942;

on May 20, 2022, the termination order was preliminarily

enjoined in a separate litigation in the United States District

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Court for the Western District of Louisiana on the ground that

the order violated the APA’s notice-and-comment requirements,

see Louisiana v. CDC, No. 22-cv-885, 2022 WL 1604901 (W.D. La.

May 20, 2022). The government appealed the decision but did not

seek to undertake notice and comment regarding the termination

order.

     Plaintiffs filed a second motion for preliminary injunction

on August 10, 2022. See Pls.’ Second Mot. Prelim. Inj., ECF No.

141. On August 12, 2022, the Court issued a Minute Order

converting the second motion for preliminary injunction to a

motion for partial summary judgment and consolidating the second

motion for preliminary injunction with a determination on the

merits with regard to the issue of whether the Title 42 policy

is arbitrary and capricious under the APA. Min. Order (Aug. 12,

2022). The Court considered the second motion for preliminary

injunction to be withdrawn without prejudice. Id. In view of the

Court’s Minute Order, Plaintiffs filed a motion for partial

summary judgment on August 15, 2022, see Pls.’ Mot., ECF No.

144; Defendants filed their opposition on August 31, 2022, see

Defs.’ Opp’n, ECF No. 147; and Plaintiffs filed their reply on

September 14, 2022, see Pls.’ Reply, ECF No. 149-1. The Court

granted Defendants’ motion for leave to file a surreply on

September 22, 2022, and further ordered Plaintiffs to file their

response to the surreply on September 30, 2022. See Defs.’

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Surreply, ECF No. 160; Pls.’ Response, ECF No. 159. The motion

is ripe for adjudication.

II.   Legal Standards

        A. Administrative Procedure Act

      The APA establishes a “basic presumption of judicial review

[for] one ‘suffering legal wrong because of agency action.’”

Abbott Laboratories v. Gardner, 387 U.S. 136, 140 (1967)

(quoting 5 U.S.C. § 702). That presumption can be rebutted by a

showing that the relevant statute “preclude[s]” review, §

701(a)(1); or that the “agency action is committed to agency

discretion by law,” 5 U.S.C. § 701(a)(2). “The former applies

when Congress has expressed an intent to preclude judicial

review.” Heckler v. Chaney, 470 U.S. 821, 830 (1985). The latter

applies: (1) “in those rare instances where statutes are drawn

in such broad terms that in a given case there is no law to

apply,” Citizens to Preserve Overton Park, Inc. v. Volpe, 401

U.S. 402, 410 (1971); and (2) when “the statute is drawn so that

a court would have no meaningful standard against which to judge

the agency’s exercise of discretion,” Heckler, 470 U.S. at 830.

“Agency actions in these circumstances are unreviewable because

the courts have no legal norms pursuant to which to evaluate the

challenged action, and thus no concrete limitations to impose on

the agency’s exercise of discretion.” Sierra Club v. Jackson,

648 F.3d 848, 855 (D.C. Cir. 2011) (citation omitted).

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     If reviewable, courts consider “both the nature of the

administrative action at issue and the language and structure of

the statute that supplies the applicable legal standards for

reviewing that action” in determining whether an action is

committed to agency discretion. Sec. of Labor v. Twentymile Coal

Co., 456 F.3d 151, 156 (D.C. Cir. 2006) (citation omitted).

However, Section 701(a)(2) “provides a ‘very narrow exception’

that applies only in ‘rare instances.’” Cody v. Cox, 509 F.3d

606, 610 (D.C. Cir. 2007) (quoting Citizens to Preserve Overton

Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)). Courts “begin

with the strong presumption that Congress intends judicial

review of administrative action[] unless there is persuasive

reason to believe that such was the purpose of Congress.” Ramah

Navajo School Bd., Inc. v. Babbitt, 87 F.3d 1338, 1343–44 (D.C.

Cir. 1996) (citations omitted).

       B. Summary Judgment

     Plaintiffs seek review of an administrative decision under

the APA. Therefore, the standard articulated in Federal Rule of

Civil Procedure 56 is inapplicable because the Court has a more

limited role in reviewing the administrative record. Wilhelmus

v. Geren, 796 F. Supp. 2d 157, 160 (D.D.C. 2011) (internal

citation omitted). “[T]he function of the district court is to

determine whether or not as a matter of law the evidence in the

administrative record permitted the agency to make the decision

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 it did.” See Sierra Club v. Mainella, 459 F. Supp. 2d 76, 90

 (D.D.C. 2006)(internal quotation marks and citations omitted).

 “Summary judgment thus serves as the mechanism for deciding, as

 a matter of law, whether the agency action is supported by the

 administrative record and otherwise consistent with the APA

 standard of review.” Wilhelmus, 796 F. Supp. 2d at 160 (internal

 citation omitted).

III.   Analysis

       Plaintiffs argue that the Title 42 Process is arbitrary and

 capricious because: (1) the CDC failed to apply the “least

 restrictive means” standard when authorizing the policy; (2) the

 policy does not rationally serve its stated purpose in view of

 the alternatives; and (3) the CDC failed to consider the harm

 the policy would inflict on impacted individuals. Pls.’ Mot.,

 ECF No. 144-1 at 10-11. For the reasons below, the Court

 concludes that summary judgment is appropriate for Plaintiffs.

         A. Plaintiffs’ Claim Is Reviewable

       Defendants contend that Plaintiffs’ claim is exempted from

 judicial review under the APA because the decision to “issue,

 modify, or terminate a Title 42 order” is committed to the CDC’s

 discretion by law, and Title 42 “is drawn so that a court would

 have no meaningful standard against which to judge the agency’s

 exercise of discretion.” Defs.’ Opp’n, ECF No. 147 at 17 (citing

 5 U.S.C. § 701(a)(2); Lincoln v. Vigil, 508 U.S. 182, 191-93

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(1993)). The Court, however, concludes that Defendants have not

overcome the “strong presumption of reviewability” under the

APA. Steenholdt v. FAA, 314 F.3d 633, 638 (D.C. Cir. 2003)

(citing Abbott Labs. v. Gardner, 387 U.S. 136, 140 (1967)).

     First, the Title 42 Process “does not fall into one of the

narrow categories that usually satisfies the strictures of

subsection 701(a)(2).” Cody v. Cox, 509 F.3d 606, 610 (D.C. Cir.

2007) (citing Lincoln, 508 U.S. at 191-92). This case does not

involve “second-guessing executive branch decision[s] involving

complicated foreign policy matters,” id. (quoting Legal

Assistance for Vietnamese Asylum Seekers v. Dep’t of State, 104

F.3d 1349, 1353 (D.C. Cir. 1997)); “an agency’s refusal to

undertake an enforcement action,” id. (citing Heckler v. Chaney,

470 U.S. 821, 831 (1985)); or a “determination about how to

spend a lump-sum appropriation,” id. (citing Lincoln, 508 U.S.

at 192).

     Second, and contrary to Defendants’ assertion, the fact

that CDC’s determination under Section 265 may “involve[] a

complicated balancing of a number of factors which are

peculiarly within the agency’s expertise,” Defs.’ Opp’n, ECF No.

147 at 18; does not on its own compel the conclusion that such

decisions are unreviewable, see, e.g., Louisiana v. CDC, No.

6:22-cv-00885, 2022 WL 1604901, at *17 (W.D. La. May 20, 2022)

(holding that CDC’s decision to terminate its prior Title 42

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orders was subject to judicial review); Texas v. Biden, No.

4:21-cv-0579-P, 2022 WL 658579, at *11–12 (N.D. Tex. Mar. 4,

2022) (finding CDC’s July 2021 and August 2021 orders were not

committed to agency discretion); Health Freedom Def. Fund, Inc.

v. Biden, No. 8:21-cv-1693-KKM-AEP, 2022 WL 1134138, at *18–20

(M.D. Fla. Apr. 18, 2022) (reviewing CDC regulation mandating

mask usage in certain locations during COVID-19 pandemic);

Florida v. Becerra, 544 F. Supp. 3d 1241, 1292-94 (M.D. Fla.

2021) (reviewing CDC’s “no-sail orders” that halted the cruise

industry’s operation from March 2020 through October 2020). As

Plaintiffs point out, “nearly every agency decision involves a

balancing of factors, and frequently involve highly technical

issues, so Defendants’ rule would essentially gut the APA’s

strong presumption favoring review.” Pls.’ Reply, ECF No. 149-1

at 9. Indeed, the D.C. Circuit rejected a similar argument in

Cody v. Cox, 509 F.3d 606 (D.C. Cir. 2007). In Cody, the circuit

court addressed whether a provision requiring an agency

retirement home to provide “high quality and cost-effective”

health care was reviewable under the APA. 509 F.3d at 610. The

D.C. Circuit concluded that although the statute gave the agency

“broad discretion in administering care” and “‘high quality and

cost-effective’ health care is a tricky standard for a court to

apply,” the provisions at issue did not commit decisions to

agency discretion by law. Id.

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     Moreover, Defendants cite no case law supporting their

contention that an agency’s public health decisions are outside

the judiciary’s purview. Rather, Defendants point to a line of

cases standing for the proposition that courts typically grant

agencies deference when reviewing their public health

determinations. See Defs.’ Opp’n, ECF No. 147 at 18-19. However,

whether an agency is given deference is a different issue from

whether an agency’s decision is reviewable in the first

instance, and none of the cases Defendants cite involve the

application of Section 701(a)(2). See FDA v. Am. Coll. Of

Obstetricians & Gynecologists, 141 S. Ct. 578, 579 (2021)

(Roberts, C.J., concurring in grant of stay application)

(stating that the question before the court was “whether the

District Court properly ordered the FDA to lift [certain]

established requirements because of the court’s own evaluation

of the impact of the COVID–19 pandemic”); S. Bay United

Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020)

(Roberts, C.J., concurring) (finding that it was

“improbable” that California’s restrictions on social gatherings

during the pandemic were unconstitutional, where party sought

emergency relief in an interlocutory posture); Marshall v.

United States, 414 U.S. 417, 427 (1974) (considering

“petitioner’s claim that the provisions of Title II of the

Narcotic Addict Rehabilitation Act of 1966 . . . deny due

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process and equal protection by excluding from discretionary

rehabilitative commitment, in lieu of penal incarceration,

addicts with two or more prior felony convictions”); Jacobson v.

Massachusetts, 197 U.S. 11, 30 (1905) (reviewing

constitutionality of state provisions relating to vaccination).

     Third, the Court also disagrees that Section 265 “is drawn

so that a court would have no meaningful standard against which

to judge the agency’s exercise of discretion.” Defs.’ Opp’n, ECF

No. 147 at 19. Section 265 mandates that, whenever the CDC

Director determines that there is a “serious danger of the

introduction” of a “communicable” disease into the country, the

CDC “shall have the power to prohibit, in whole or in part, the

introduction of persons and property from such countries or

places as he shall designate in order to avert such danger, and

for such period of time as he may deem necessary for such

purpose” and when “required in the interest of public health.”

42 U.S.C. § 265 (emphasis added); see also 87 Fed. Reg. 19941,

19955 (Apr. 2022 Order) (“[T]his authority extends only for such

period of time deemed necessary to avert the serious danger of the

introduction of a quarantinable communicable disease into the

United States.”). Despite the use of the words “may” and “deem” in

the statute, the D.C. Circuit has “regularly found Congress has not

committed decisions to agency discretion under far more permissive

and indeterminate language.” Cody, 509 F.3d at 610-11 (citing


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Dickson v. Sec’y of Def., 68 F.3d 1396 (D.C. Cir. 1995)

(reviewing provision stating that agency “may” take an action if

it finds it to be “in the interest of justice”); see also

Marshall Cty. Health Care Auth. v. Shalala, 988 F.2d 1221, 1224

(D.C. Cir. 1993) (“[T]he government, in our view, puts too much

emphasis on the word ‘deem.’”). The statute, therefore, “limit[s]

the agency’s discretion in discrete ways.” Sierra Club v. U.S. Fish

& Wildlife Serv., 930 F. Supp. 2d 198, 209 (D.D.C. 2013).

     As the D.C. Circuit has explained, “[t]he mere fact that a

statute grants broad discretion to an agency does not render the

agency’s decisions completely nonreviewable under the ‘committed

to agency discretion by law’ exception unless the statutory

scheme, taken together with other relevant materials, provides

absolutely no guidance as to how that discretion is to be

exercised.” Robbins v. Reagan, 780 F.2d 37 (D.C. Cir. 1985)

(emphasis added) (“[G]iven the fact that the statute limits the

uses for which the funds can be used, we see no barrier to our

assessing whether the agency’s decision was based on factors

that are relevant to this goal.”). Because Section 265 provides

meaningful standards against which to examine agency action,

Plaintiffs’ claim is reviewable.




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       B. The Title 42 Process Is Arbitrary and Capricious

                1. Defendants Failed to Apply the Least Restrictive
                   Means Standard

     The D.C. Circuit has explained that “[r]easoned decision-

making requires that when departing from precedents or

practices, an agency must ‘offer a reason to distinguish them or

explain its apparent rejection of their approach.’” Physicians

for Social Responsibility v. Wheeler, 956 F.3d 634, 644 (D.C.

Cir. 2020) (quoting Sw. Airlines Co. v. FERC, 926 F.3d 851, 856

(D.C. Cir. 2019)). Not “every agency action representing a

policy change must be justified by reasons more substantial than

those required to adopt a policy in the first instance.” Grace

v. Barr, 965 F.3d 883, 900 (D.C. Cir. 2020) (quoting FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 514 (2009)). However,

the agency may not “gloss[] over or swerve[] from prior

precedents without discussion.” Id. (quoting Sw. Airlines, 926

F.3d at 856).

     Plaintiffs argue that the Title 42 Process is arbitrary and

capricious because the CDC (1) failed to impose the “least

restrictive means necessary to prevent the spread of disease”

when implementing the policy and (2) failed to explain its

departure from this “settled practice.” Pls.’ Mot., ECF No. 144-

1 at 11-12. According to Plaintiffs, CDC had previously

“clarif[ied]” this standard in Control of Communicable Diseases,



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82 Fed. Reg. 6890, 6912 (Jan. 19, 2017) (“2017 Final Rule”).

Pls.’ Reply, ECF No. 149-1 at 14 (quoting 82 Fed. Reg. 6890,

6912). The 2017 Final Rule amended CDC regulations “governing

its domestic (interstate) and foreign quarantine regulations”

following the “largest outbreak of Ebola virus disease . . . on

record” and the “outbreak of Middle East Respiratory Syndrome

(MERS).” 82 Fed. Reg. at 6890-91. The rule was intended to

“enhance HHS/CDC’s ability to prevent the introduction,

transmission, and spread of communicable diseases into the

United States and interstate by clarifying and providing greater

transparency regarding its response capabilities and practices.”

Id. Among other things, the 2017 Final Rule “clarif[ied]” that

“in all situations involving quarantine, isolation, or other

public health measures, it seeks to use the least restrictive

means necessary to prevent spread of disease.” Id. at 6912.

     Defendants, however, dispute that CDC’s Title 42 orders are

subject to the “least restrictive means” standard. In

Defendants’ view, the 2017 Final Rule provided that the standard

applies solely in the context of quarantine and isolation, and

only with regard to measures implemented “under this [2017]

Final Rule.” Defs.’ Opp’n, ECF No. 147 at 28 (quoting 82 Fed.

Reg. at 6890). The Court disagrees with Defendants.

     First, the Court is not convinced that the Title 42 orders

do not fall into the category of a “quarantine, isolation, or

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other public health measures,” as contemplated by the 2017 Final

Rule. The August 2021 Order, after all, specifically concerns

“quarantinable communicable diseases,” discusses the feasibility

of quarantine or isolation of individuals, and lists 42 U.S.C. §

268 as its legal authority, which in turn sets out the

“[q]uarantine duties of consular and other officers.” 86 Fed.

Reg. at 42838; 42 U.S.C. § 268; see also id. § 268(b) (“It shall

be the duty of the customs officers and of Coast Guard officers

to aid in the enforcement of quarantine rules and

regulations.”). Moreover, Dr. Anne Schuchat, the former CDC

principal deputy director in 2020, testified before the House of

Representatives that some in the agency did not believe that the

agency’s adoption of the March 2020 Order was appropriately

“based on criteria for quarantine.” 3 Ex. A to Cheung Decl., ECF

No. 144-3 at 7 (emphasis added). She further testified that “the

typical issue is, the least restrictive means possible to

protect public health is when you exert a quarantine order


3 The Court considers Dr. Schuchat’s extra-record testimony to
evaluate the existence of a “least restrictive means” standard
with respect to public health measures generally. See, e.g.,
Hispanic Affairs Project v. Acosta, 901 F.3d 378, 386 n.4 (D.C.
Cir. 2018) (“The district court struck many of the Project’s
declarations because they were outside of the administrative
record considered by the Labor Department in promulgating its
2015 Rule. But as relevant here, the Project employs the
declarations for the distinct and permissible purpose of proving
that the Department of Homeland Security has a practice or
policy of routinely extending H-2A visa status for three years.”
(internal citation omitted)).
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versus other measures. And the bulk of the evidence at that time

did not support this policy proposal.” Id.

     Even the examples the 2017 Final Rule provided of measures

requiring the “least restrictive means” test did not include

quarantine or isolation as their primary recommendations.

Rather, the 2017 Final Rule stated:

          HHS/CDC agrees and clarifies that in all
          situations involving quarantine, isolation,
          or other public health measures, it seeks to
          use the least restrictive means necessary to
          prevent    spread   of    disease.    Regarding
          quarantine, as an example, during the 2014-
          2016 Ebola epidemic, HHS/CDC recommended
          monitoring of potentially exposed individuals
          rather than quarantine. Most of these people
          were free to travel and move about the
          community, as long as they maintained daily
          contact with their health department. For some
          individuals with higher levels of exposure,
          HHS/CDC   recommended    enhanced    monitoring
          (involving direct observation) and, in some
          cases restrictions on travel and being in
          crowded   places,   but   did   not   recommend
          quarantine.   HHS/CDC   has   the   option   of
          “conditional release” as a less restrictive
          alternative to issuance of an order of
          quarantine or isolation.

82 Fed. Reg. at 6912. The August 2021 Order similarly considered

the availability of facilities for isolation and quarantine

before determining it was not a feasible option. See e.g., 86

Fed. Reg. at 42836 (stating that releasing family units to

communities required, among other things, quarantine facilities,

but that such facilities would not be available for all

individuals). And significantly, the CDC applied the “least

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restrictive means” standard in the April 2022 Order terminating

the Title 42 policy, stating that the agency had “determined

that less restrictive means are available to avert the public

health risks associated with the introduction, transmission, and

spread of COVID-19 into the United States.” 87 Fed. Reg. at

19955 (emphasis added); see also 87 Fed. Reg. at 15252

(rescinding Title 42 policy as to unaccompanied children and

explaining “CDC is committed to using the least restrictive

means necessary and avoiding the imposition of unnecessary

burdens in exercising its communicable disease authorities.”).

     Further, whether the specific goals of the 2017 Final Rule

does not preclude a finding that the agency’s practice was to

apply the “least restrictive means” test more broadly. After

all, the 2017 Final Rule did not state that it was applying the

“least restrictive means” test for the first time; instead, the

CDC explained that the intent behind the rule was “to clarify

the agency’s standard operating procedures and policies.” 82

Fed. Reg. at 6931. For example, in noting that the agency had

“received several comments requesting the ‘least restrictive’

means with respect to quarantine and isolation,” the CDC not

only clarified that it used the “least restrictive means” with

respect to those two specific contexts, but also “agree[d] and

clarifie[d]” that the agency sought to use that standard “in all

situations involving quarantine, isolation, or other public

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measures.” 82 Fed. Reg. at 6912 (emphasis added). Defendants’

contention that the “least restrictive” standard applies only to

U.S. citizens similarly fails because the CDC has clarified that

it “appl[ies] communicable disease control and prevention

measures uniformly to all individuals in the United States,

regardless of citizenship, religion, race, or country of

residency.” 89 Fed. Reg. at 6894 (emphasis added).

     Finally, Defendants point to other CDC regulations

governing mask mandates and pre-departure COVID-19 testing

requirements as examples of measures CDC implemented without

applying the standard at issue. 4 Defs.’ Opp’n, ECF No. 147 at 28-

29 (citing 86 Fed. Reg. 69256 (Dec. 7, 2021); 86 Fed. Reg. 8025

(Feb. 3, 2021); 85 Fed. Reg. 86933 (Dec. 31, 2020)). Defendants

argue that these examples demonstrate that “CDC routinely

implements [public health] measures without regard” to the

standard. Id. However, the Court agrees with Plaintiffs that

“masking or testing are among the least restrictive COVID-19

measures available,” and, by contrast, “Title 42 expulsions are,

in the CDC’s own view, ‘among the most restrictive measures CDC

has undertaken’ against COVID-19.’” Pls.’ Reply, ECF No. 149-1




4 Defendants also cite to “regulations governing medical
examinations of certain noncitizens seeking to enter the United
States.” Defs.’ Opp’n, ECF No. 147 at 28-29. This regulation,
however, was implemented prior to the 2017 Final Rule’s policy
clarification.
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at 15-16 (quoting 87 Fed. Reg. at 19951). Moreover, the CDC has

applied the standard to more comparable public health measures,

such as those regarding the introduction of persons into the

country during the Ebola virus outbreak. See Control of

Communicable Diseases, 82 Fed. Reg. 6890, 6896 (stating that

“HHS/CDC used the best available science and risk assessment

procedures . . . and principles of least restrictive means to

successfully ensure that measures to ban travel between the

United States and the affected countries were unnecessary”

during Ebola outbreak).

     Defendants argue, however, that “[i]n any event, CDC’s

August 2021 order ultimately was in fact the least restrictive

means available to prevent the further introduction of COVID-19

into the United States at the borders at the time it was

issued.” Defs.’ Opp’n, ECF No. 147 at 29. They contend that

“while CDC may not have expressly used the term ‘least

restrictive means,’ the substance of CDC’s August order makes

clear that CDC did, in practice, issue an order that was in fact

the least restrictive means available to protect the country

from further introduction, transmission, and spread of COVID-

19.” Id. at 30. However, a plain reading of the August 2021

Order does not indicate that the CDC instituted the “least

restricted means available,” and a discussion of potential



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mitigation measures does not necessarily mean that the least

burdensome measures were selected.

     The Court therefore concludes that the August 2021 Order is

arbitrary and capricious due to CDC’s “failure to acknowledge

and explain its departure from past practice.” Grace, 965 F.3d

at 903. (finding that agency’s “failure to acknowledge the

change in policy is especially egregious given its potential

consequences for asylum seekers”).

               2. Defendants Failed to Consider the Consequences
                  of Suspending Immigration to Covered Noncitizens

     Plaintiffs further argue that the Title 42 orders are

arbitrary and capricious because the CDC failed to consider the

harms to migrants subject to expulsion. Pls.’ Mot., ECF No. 144-

1 at 26. Defendants, in opposition, argue that the CDC was not

required to consider the harms to noncitizens because “neither

the statute nor the implementing regulation calls for the CDC

Director to engage in any such balancing of harms.” Defs.’

Opp’n, ECF No. 147 at 41-42. The “sole inquiry,” in Defendants’

view, is whether a Title 42 order “is required in the interest

of the public health.” Id. at 42.

     As an initial matter, consideration of the negative impacts

that the measures would have on migrants was required by the

least restrictive means standard. See, e.g., 82 Fed. Reg. at

6896 (weighing the necessity of measures to ban travel to the


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United States against the “dramatic negative implications for

travelers and industry”).

     Moreover, and as set forth above, the APA requires that

agencies engage in “reasoned decisionmaking.” Dep’t of Homeland

Sec. v. Regents of the Univ. of Calif., 140 S. Ct. 1891, 1913

(2020). “Under this narrow standard of review, a court is not to

substitute its judgment for that of the agency, but instead to

assess only whether the decision was based on a consideration of

the relevant factors and whether there has been a clear error of

judgment.” Id. at 1905 (2020) (internal quotation marks omitted)

(citation omitted). “That task involves examining the reasons

for agency decisions—or, as the case may be, the absence of such

reasons.” Judulang v. Holder, 565 U.S. 42, 53 (2011). Here, the

consequences of suspending immigration proceedings for all

covered noncitizens was a “relevant factor,” or an “important

aspect of the problem,” that CDC should have considered. Motor

Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., 463 U.S. 29,

43 (1983).

     And contrary to Defendants’ argument, the factors that an

agency must consider are not limited to those that are expressly

mentioned within a statute or regulation. For example, the

Supreme Court in Department of Homeland Security v. Regents of

the University of California, 140 S. Ct. 18981 (2020), held that

the agency was required to consider any reliance interests prior

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to terminating Deferred Action for Childhood Arrivals, despite

the lack of statute or regulation mandating that the agency do

so. See Regents, 140 S. Ct. at 1914-15 (considering whether

agency appropriately addressed whether there was “legitimate

reliance” on DACA program prior to rescission).

     Although Defendants are correct that Section 265 is

concerned with preventing the introduction of communicable

disease into the United States, the means of prevention is just

as relevant. It is unreasonable for the CDC to assume that it

can ignore the consequences of any actions it chooses to take in

the pursuit of fulfilling its goals, particularly when those

actions included the extraordinary decision to suspend the

codified procedural and substantive rights of noncitizens

seeking safe harbor. See Huisha-Huisha, 27 F.4th at 724-25

(describing the “procedural and substantive rights” of aliens,

such as asylum seekers, “to resist expulsion”); cf. Regents, 140

S. Ct. at 1914-15 (holding that agency should have considered

the effect rescission of DACA would have on the program’s

recipients prior to the agency making its decision). As

Defendants concede, “a Title 42 order involving persons will

always have consequences for migrants,” Defs.’ Opp’n, ECF No.

147 at 42, and numerous public comments during the Title 42

policy rulemaking informed CDC that implementation of its orders

would likely expel migrants to locations with a “high

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probability” of “persecution, torture, violent assaults, or

rape.” See Pls.’ Mot., ECF No. 144-1 at 27; see also id. at 27-

28 (listing groups subject to expulsion under Title 42,

including “survivors of domestic violence and their children,

who have endured years of abuse”; “survivors of sexual assault

and rape, who are at risk of being stalked, attacked, or

murdered by their persecutors in Mexico or elsewhere”; and

“LGBTQ+ individuals from countries where their gender identity

or sexual orientation is criminalized or for whom expulsion to

Mexico or elsewhere makes them prime targets for persecution”

(citing AR, ECF No. 154 at 28-29, 47, 153) (cleaned up)). It is

undisputed that the impact on migrants was indeed dire. See,

e.g., Huisha-Huisha, 27 F.4th at 734 (finding Plaintiffs would

suffer irreparable harm if expelled to places where they would

be persecuted or tortured).

     The CDC “has considerable flexibility in carrying out its

responsibility,” Regents, 140 S. Ct. at 1914, and the Court is

mindful that it “is not to substitute its judgment for that of

the agency,” FCC v. Fox Television Stations, Inc., 556 U.S. 502,

513 (2009). But regardless of the CDC’s conclusion, its decision

to ignore the harm that could be caused by issuing its Title 42

orders was arbitrary and capricious.




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               3. The Title 42 Policy Failed to Adequately
                  Consider Alternatives

     Plaintiffs also argue that the Title 42 policy is arbitrary

and capricious because CDC failed to adequately consider

alternatives and the policy did not rationally serve its stated

purpose. See Pls.’ Mot., ECF No. 144-1 at 10-11.

     First, Plaintiffs contend that “CDC failed to adequately

consider other ‘alternative way[s] of achieving [its] objective’

that were raised by commenters and were available from the very

beginning—namely self-quarantine and outdoor processing.” Pls.’

Mot., ECF No. 144-1 at 21.

     With regard to self-quarantine measures, the Court

disagrees. The record shows that commenters informed CDC that

the “vast majority (approximately 92%) of migrants have family

or friends already in the United States,” and proposed that

covered noncitizens could self-quarantine or self-isolate in

these homes or in the shelters of community and faith-based

organizations. Pls.’ Mot., ECF No. 144-1 at 21. In responding to

this proposed alternative, CDC stated that even if it “were to

assume that many covered aliens have family or close friends in

the United States,” the commenters had not provided evidence

that the “family or close friends had personal residences and,

if so, whether they would make them available as self-quarantine

or self-isolation locations.” 85 Fed. Reg. at 56452. Nor did the


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commenters “look at whether residences were suitable for self-

quarantine or self-isolation in compliance with HHS/CDC

guidelines.” Id. CDC “maintain[ed] that its implementation of a

self-quarantine or self-isolation protocol for covered aliens

would consume undue HHS/CDC and CBP resources without averting

the serious danger of the introduction of COVID-19 into CBP

facilities” and that “[e]xpulsion is a more effective public

health measure for CBP facilities that preserves finite HHS/CDC

resources for other public health operations.” Id. Thus, based

on the record evidence, it appears that CDC considered the

possibility of permitting self-quarantining, but ultimately

concluded that lack of resources made it impractical.

     However, Defendants failed to consider another “obvious and

less drastic alternative” and give a reasoned explanation for

its rejection of the alternative. Yakima Valley Cablevision,

Inc. v. FCC, 794 F.2d 737, 746 n.36 (D.C. Cir. 1986); see also

Spirit Airlines, Inc. v. U.S. Dep’t of Transp., 997 F.3d 1247,

1255 (D.C. Cir. 2021). In the August 2021 Order, the CDC noted

the risk of spreading COVID-19 to others “when people are in

close contact with one another . . . , especially in crowded or

poorly ventilated indoor settings.” 86 Fed. Reg. at 42832. Due

to this risk, the CDC indicated that processing under Title 42

presented a safer alternative to processing under Title 8

because “processing an individual for expulsion under the CDC

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order takes roughly 15 minutes and generally happens outdoors.”

Id. at 42836. However, the August 2021 Order makes no mention of

whether Title 8 processing could also take place outdoors, as

suggested by at least one commenter as a less drastic measure to

expulsion. See generally id.; AR, ECF No. 154 at 9; Pls.’ Mot.,

ECF No. 144-1 at 20-21. And although Defendants state in their

opposition brief that “[o]utdoor processing . . . was

unavailable in August 2021,” they do so without citation to the

record. Defs.’ Opp’n, ECF No. 147 at 33. It is well-established

that courts “look only to what the agency said at the time of

the [action]—not to its lawyers’ post-hoc rationalizations,”

Grace, 965 F.3d at 903 (quoting Good Fortune Shipping SA v.

Comm’r of Internal Revenue Serv., 897 F.3d 256, 263 (D.C. Cir.

2018)). Because Defendants’ explanation “falls well short of

what is needed to demonstrate the agency grappled with an

important aspect of the problem before it considered another

reasonable path forward,” Spirit Airlines, 997 F.3d at 1255;

CDC’s failure to consider such an important alternative is

arbitrary and capricious, see, e.g., Yakima Valley, 794 F.2d at

746 n.36 (noting that “[t]he failure of an agency to consider

obvious alternatives has led uniformly to reversal”); Allied

Local & Reg’l Mfrs. Caucus v. EPA, 215 F.3d 61, 80 (D.C. Cir.

2000) (“To be regarded as rational, an agency must . . .



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consider significant alternatives to the course it ultimately

chooses”).

     Next, Plaintiffs argue that “Defendants could have

instituted testing, vaccination, and quarantine protocols,

rather than continuing to authorize expulsions.” Pls.’ Mot., ECF

No. 144-1 at 17. Defendants dispute Plaintiffs’ contention,

arguing that CDC had determined that “[o]n-site COVID-19 testing

for noncitizens at CBP holding facilities [was] very limited,”

off-site testing would harm community healthcare facilities, and

“vaccination programs [were] not available at th[at] time.”

Defs.’ Opp’n, ECF No. 147 at 32-33.

     “Agencies ‘have an obligation to deal with newly acquired

evidence in some reasonable fashion,’ . . . [and] to ‘reexamine’

their approaches ‘if a significant factual predicate changes.’”

Portland Cement Ass’n v. EPA, 665 F.3d 177, 187 (D.C. Cir. 2011)

(quoting Catawba Cty. v. EPA, 571 F.3d 20, 45 (D.C. Cir. 2009);

Bechtel v. FCC, 957 F.2d 873, 881 (D.C. Cir. 1992)). Moreover,

an agency’s statements “must be one of ‘reasoning’; it must not

be just a ‘conclusion’; it must ‘articulate a satisfactory

explanation’ for its action.” Butte Cty. v. Hogen, 613 F.3d 190,

194 (D.C. Cir. 2010) (quoting Tourus Records, Inc. v. DEA, 259

F.3d 731, 737 (D.C. Cir. 2001)).

     Here, the March 2020 Order listed the lack of vaccines,

“approved therapeutics,” and rapid testing as justifications for

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the emergency measures. See 85 Fed. Reg. at 17062. Thus, the

relevant “significant factual predicate change[]” with regard to

the August 2021 Order was the development and disbursal of

COVID-19 vaccines, on-site rapid antigen tests, and effective

therapeutics. See Pls.’ Mot., ECF No. 144-1 at 17-18; see also

86 Fed. Reg. at 42833 (mentioning the wide availability of

vaccines and antigen tests). The CDC therefore was required to

“reexamine” its approach in view of the rapidly changing

healthcare environment.

     The Court concludes that CDC failed to appropriately

consider the availability of effective therapeutics that

“reduce[d] the risk of hospitalization” by approximately 70

percent in its August 2021 Order. See Pls.’ Mot., ECF No. 144-1

at 18; AR, ECF No. 154 at 143 (listing the availability of

monoclonal antibody doses and their effectiveness against COVID-

19). Defendants do not dispute that the August 2021 Order failed

to even mention such treatments or their overall availability.

Defs.’ Opp’n, ECF No. 147 at 33. Instead, Defendants cite to the

April 2022 termination order as explaining that the treatments

were not as widespread or as diverse in August 2021 and were

difficult to administer. Defs.’ Opp’n, ECF No. 147 at 33 (citing

87 Fed. Reg. at 19950); see also 87 Fed. Reg. at 19950

(“Although monoclonal antibodies were available in August 2021

and some continue to be effective and were widely used during

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the Omicron wave, such treatments must be administered by

infusion and are cumbersome to administer.”). However, whether

CDC analyzed the availability of treatments in April 2022 does

not establish that it did so in August 2021. CDC therefore

failed to “deal with newly acquired evidence in some reasonable

fashion” with regard to therapeutics. Portland, 665 F.3d at 187.

     With regard to whether Defendants could have “ramped up

vaccinations, outdoor processing, and all the other available

public health measures,” Butte Cty., 613 F.3d at 194, the Court

finds that CDC failed to articulate a satisfactory explanation

for why such measures were not feasible. Defendants argue that

CDC did consider the availability of mitigation measures, but

ultimately, they were limited by the “operational reality.”

Defs.’ Opp’n, ECF No. 147 at 32-33. For example, in August 2021,

Defendants explained that DHS had not yet begun initiating a

vaccination program and on-site testing was “very limited.” Id.

Moreover, quarantine measures were unavailable because CDC

“‘lacks the resources, manpower, and facilities to quarantine

covered aliens’ and must rely on the ‘Department of Defense,

other federal agencies, and states and local governments to

provide both logistical support and facilities for federal

quarantines.’” Id. at 33 (quoting 85 Fed. Reg. at 17,067 n.66).

However, CDC’s statements are largely conclusory and do not

reflect any serious analysis of whether reasonable steps could

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have been taken to at least begin instituting vaccination

programs, particularly given that all Americans had been

eligible for the vaccine for more than three months by that

point, and increasing the supply of on-site testing. See AR, ECF

No. 154 at 56. Further, despite CDC’s finding in March 2020 that

DHS could “build and start bringing hard-sided facilities

online” in “90 days (likely more),” 85 Fed. Reg. at 17067 n.66;

there is no indication why those efforts still would not have

addressed the public health emergency months later. The Court

agrees with Plaintiffs that Defendants cannot rest on the

“operational reality” when Defendants themselves had the power

to change that reality. See Pls.’ Reply, ECF No. 149-1 at 22

(“After leaning on DHS to implement Title 42, CDC cannot now

turn around and claim that DHS had no responsibility to take

steps to avoid the continued human suffering of so many

vulnerable asylum-seekers.”); see also Portland, 665 F.3d at 187

(“It is nothing more than a determination that EPA would not

address the problem unless it happened to appear at an

inconvenient time—an eventuality over which EPA had full

control. The refrain that EPA must promulgate rules based on the

information it currently possesses simply cannot excuse its

reliance on that information when its own process is about to

render it irrelevant.”).



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     Finally, Plaintiffs argue that the Title 42 policy did not

rationally serve its stated purpose because “COVID-19 was already

rampant in the United States in August 2021, the egregious

disjuncture between its stated goal of banning infectious migration

and the narrow group of travelers it actually targeted, and the

ways the Title 42 Policy contributed to spreading disease.” Defs.’

Reply, ECF No. 149-1 at 22 (internal citations omitted).

     The Court finds that the fact that COVID-19 was already

“widespread” within the United States at the time of the August

2021 Order is not sufficient to show that the Title 42 policy did

not rationally serve its stated purpose. See Pls.’ Mot., ECF No.

144-1 at 22-23. The relevant regulation defines “serious danger of

the introduction of [a] quarantinable communicable disease into the

United States” as “the probable introduction of one or more persons

capable of transmitting the quarantinable communicable disease into

the United States, even if persons or property in the United States

are already infected or contaminated with the quarantinable

communicable disease.” 42 C.F.R. § 71.40(b)(3). Although Plaintiffs

contend that CDC’s definition “simply cannot be a rational public

health rule,” they otherwise do not provide any arguments regarding

why the Court should not defer to CDC’s interpretation of the term

“serious danger.” See Pls.’ Reply, ECF No. 149-1 at 22-23. In view

of CDC’s scientific and technical expertise, the Court does not

find the definition to be unreasonable.



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     However, despite the above, Defendants have not shown that the

risk of migrants spreading COVID-19 is “a real problem.” District

of Columbia v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 27 (D.D.C.

2020) (citing Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d 831,

841 (D.C. Cir. 2006)). “Professing that an agency action

ameliorates a real problem but then citing no evidence

demonstrating that there is in fact a problem is not reasoned

decisionmaking.” Id. (cleaned up); see Huisha-Huisha, 27 F.4th at

735 (“[W]e would be sensitive to declarations in the record by CDC

officials testifying to the efficacy of the § 265 Order. But there

are none.”). As Plaintiffs point out, record evidence indicates

that “during the first seven months of the Title 42 policy, CBP

encountered on average just one migrant per day who tested positive

for COVID-19.” Pls.’ Mot., ECF No. 144-1 at 22 (citing Sealed AR,

ECF No. 155-1 at 23). In addition, at the time of the August 2021

Order, the rate of daily COVID-19 cases in the United States was

almost double the incidence rate in Mexico and substantially higher

than the incidence rate in Canada. See 86 Fed. Reg. at 42831

(noting 137.9 daily cases per 100,000 people in the United States,

compared to 68.6 in Mexico and 8.0 in Canada). The lack of evidence

regarding the effectiveness of the Title 42 policy is especially

egregious in view of CDC’s previous conclusion that “the use of

quarantine and travel restrictions, in the absence of evidence of

their utility, is detrimental to efforts to combat the spread of

communicable disease,” Control of Communicable Diseases, 82 Fed.

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Reg. 6890, 6896; as well as record evidence discussing the

“recidivism” created by the Title 42 policy, which actually

increased the number of times migrants were encountered by CBP, see

AR, ECF No. 154 at 45 (commenter describing recidivism); AR, ECF

No. 155-1 at 4 (January/February 2021 statistics showing nearly 40%

of family units DHS encountered in January-February 15, 2021 were

migrants who had attempted to cross at least once before).

     Moreover, it is undisputed that the suspension of immigration

under Title 42 covered only approximately 0.1% of land border

travelers, see Pls.’ Mot., ECF No. 144-1 at 23. And though

Defendants claim that their focus was on the risk of spreading

COVID-19 in congregate settings, see Defs.’ Opp’n, ECF No. 147 at

39, millions of others were permitted to cross the border under

less restrictive measures, even if they traveled in congregate

setting such cars, buses, and trains, see Pls.’ Mot., ECF No. 144-1

at 23-24; see id. (“CBP’s own data shows that in July 2021 alone,

over 11 million people entered from Mexico by land, including over

8.4 million people in cars, buses, and trains.”).

     In view of the above, the Court concludes that the Title 42

policy is arbitrary and capricious.

       C. Remedies

     Having concluded that the Title 42 policy is arbitrary and

capricious, the question of remedy remains. For the reasons

below, the Court shall vacate the Title 42 policy and enjoin



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Defendants from applying the Title 42 policy with respect to

Plaintiff Class Members.

               1.     The Title 42 Policy Is Vacated

     Plaintiffs first request that the Court vacate the Title 42

policy. Pls.’ Reply, ECF No. 149-1 at 30. Defendants oppose the

request, contending that “[b]ecause any order granting partial

summary judgment would be interlocutory and ineffective until

final judgment except in limited circumstances, the Court should

not grant any relief premised on any such order but should defer

consideration of the issue of remedy until the Court has

adjudicated all of Plaintiffs’ claims.” Defs.’ Opp’n, ECF No.

160 at 2.

     “[U]nsupported agency action normally warrants vacatur.”

Advocates for Highway & Auto Safety v. Fed. Motor Carrier Safety

Admin., 429 F.3d 1136, 1151 (D.C. Cir. 2005). However, courts

have discretion to remand without vacatur if “there is at least

a serious possibility that the [agency] will be able to

substantiate its decision,” and if “vacating would be

disruptive.” Radio–TV News Directors Ass’n v. FCC, 184 F.3d 872,

888 (D.C. Cir. 1999) (alteration in original) (citation

omitted); see Allied–Signal, Inc. v. U.S. Nuclear Reg. Comm’n,

988 F.2d 146, 150-51 (D.C. Cir. 1993) (“The decision whether to

vacate depends on the seriousness of the order's deficiencies .

. . and the disruptive consequences of an interim change that

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may itself be changed.” (citation omitted)). “Alternatively, a

court may vacate the unlawful action but stay its order of

vacatur for a limited time to allow the agency to attempt to

cure the defects that the court has identified.” NAACP v. Trump,

298 F. Supp. 3d 209, 244 (D.D.C. 2018) (citing Friends of Earth,

Inc. v. EPA, 446 F.3d 140, 148 (D.C. Cir. 2006)).

     Here, because this action can be disposed of based on

Plaintiffs’ arbitrary and capricious claim, the Court finds that

vacatur is not premature at this stage. See, e.g., Child.’s

Hosp. Ass’n of Texas v. Azar, 300 F. Supp. 3d 190, 205 (D.D.C.

2018), rev’d and remanded on other grounds, 933 F.3d 764 (D.C.

Cir. 2019); see also Zhang v. USCIS, 344 F. Supp. 3d 32, 66 & n.10

(D.D.C. 2018). Moreover, the Allied-Signal factors do not compel a

different result. The CDC has already terminated the August 2021

Order based on “significantly improved public health conditions,”

and the Title 42 policy only remains in effect because another

federal court has preliminarily enjoined the termination order,

which Defendants are opposing before the Fifth Circuit. Defs’

Opp’n, ECF No. 147 at 9. Given the agency’s current position, it is

unlikely that the agency would seek to justify a renewal of the

policy on remand, and vacatur would not be disruptive given CDC’s

rescission of the policy. See id. at 15-16.

     Particularly in view of the harms Plaintiffs face if summarily

expelled to countries they may be persecuted or tortured, the Court


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therefore vacates the Title 42 policy. Cf. Nat. Res. Def. Council

v. EPA, 489 F.3d 1250, 1262–64 (D.C. Cir. 2007) (Randolph, J.,

concurring) (“A remand-only disposition is, in effect, an

indefinite stay of the effectiveness of the court’s decision and

agencies naturally treat it as such.”).

               2.     Plaintiffs Are Entitled to Injunctive Relief

     Plaintiffs also request that the Court permanently enjoin

Defendants and their agents from applying the Title 42 policy

with respect to Plaintiff Class Members. See Pls.’ Proposed

Order, ECF No. 144-2 at 1.

     A permanent injunction “is a drastic and extraordinary

remedy.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165

(2010). It “should not be granted as a matter of course,” id.,

and “[s]uccess on an APA claim does not automatically entitle

the prevailing party to a permanent injunction,” In re Fed.

Bureau of Prisons’ Execution Protocol Cases, 908 F.3d 123, 128

(D.C. Cir. 2020). Rather, a permanent injunction “should issue

only if the traditional four-factor test is satisfied.”

Monsanto, 561 U.S. at 157. The four-factor test requires that a

plaintiff demonstrate that: (1) “it has suffered an irreparable

injury”; (2) “remedies available at law, such as monetary

damages, are inadequate to compensate for that injury”; (3)

“considering the balance of hardships between the plaintiff and

defendant, a remedy in equity is warranted”; and (4) “the public


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interest would not be disserved by a permanent injunction.” Id.

at 156-57 (quoting eBay Inc. v. MercExchange, LLC, 547 U.S. 388,

391 (2006)).

     Having found that Plaintiffs are entitled to summary

judgment on their APA claim, the Court first turns to whether

Plaintiffs have demonstrated irreparable injury.

     “[T]he basis for injunctive relief in the federal courts

has always been irreparable injury and the inadequacy of legal

remedies.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 312

(1982); see also Chaplaincy of Full Gospel Churches v. England,

454 F.3d 290, 297 (D.C. Cir. 2006) (same). The movant must

demonstrate that it faces an injury that is “both certain and

great; it must be actual and not theoretical,” and of a nature

“of such imminence that there is a clear and present need for

equitable relief to prevent irreparable harm.” Wis. Gas Co. v.

FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (quotation marks and

emphasis omitted). This presents a “very high bar.” Beck v. Test

Masters Educ. Servs. Inc., 994 F. Supp. 2d 98, 101 (D.D.C. 2014)

(quoting Coal. for Common Sense In Gov’t Procurement v. United

States, 576 F. Supp. 2d 162, 168 (D.D.C. 2008)).

     Plaintiffs argue that they continue to face irreparable

harm because, despite the D.C. Circuit’s holding in this case

that Defendants may not expel Class Members to areas where they

would be persecuted or tortured, “[d]ocumented cases of

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kidnapping, rapes, and other violence against noncitizens

subject to Title 42 have also risen dramatically since last

year.” Pls.’ Mot., ECF No. 144-1 at 30. Defendants, in

opposition, contend that “the situation for class members has

improved since the D.C. Circuit first stayed this Court’s

preliminary injunction [in September 2021].” Defs.’ Opp’n, ECF

No. 147 at 45 (citing Huisha-Huisha II, 27 F.4th at 722).

     The Court is mindful that “[e]xpulsion is not categorically

irreparable harm.” Huisha-Huisha II, 27 F.4th at 734 (quoting

Nken, 556 U.S. at 435) (internal quotation marks omitted). Here,

however, Defendants do not argue that its guidance to field

officers following the D.C. Circuit’s opinion in this case has

prevented harms to Plaintiffs, only that it has “improved” the

situation. See Defs.’ Opp’n, ECF No. 147 at 45. And while the

Court does not doubt that USCIS screenings are a vital tool in

preventing the expulsion of individuals to countries in which

they could be persecuted, Defendants have not provided any

information regarding how many screening have occurred since the

D.C. Circuit issued its opinion in March 2022. See Pls.’ Reply,

ECF No. 149-1 at 31. Meanwhile, Plaintiffs have presented

evidence demonstrating that the rate of summary expulsions

pursuant to the Title 42 policy has nearly doubled since

September 2021. See Pls.’ Mot., ECF No. 144-1 at 30 (“At the

time of this Court’s original decision, approximately 14% of

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families encountered at the southwest border were being

summarily expelled pursuant to the Title 42 policy. . . . Now,

the rate of expulsions is nearly twice as high, reaching 27%.”);

see also Pls.’ Reply, ECF No. 149-1 at 31 (“[I]n the month of

July 2022 alone, 9,574 members of family units encountered at

the southern border were summarily expelled pursuant to the

Title 42 policy.”). And “[i]n Mexico alone, recorded incidents”

of “kidnapping, rapes, and other violence against noncitizens

subject to Title 42” have “spiked from 3,250 cases in June 2021

to over 10,318 in June 2022.” Pls.’ Mot., ECF No. 144-1 at 30

(citing Neusner Decl., ECF No. 118-4; Human Rights First, The

Nightmare Continues: Title 42 Court Order Prolongs Human Rights

Abuses, Extends Disorder at U.S. Borders, at 3-4 (June 2022)).

Accordingly, even if the Court accepts Defendants’ unsupported

statement that the “situation for class members has improved,”

the evidence demonstrates that Plaintiffs continue to face

irreparable harm that is beyond remediation. See Huisha-Huisha,

27 F.4th at 733 (“[T]he record is replete with stomach-churning

evidence of death, torture, and rape.”).

     The Court next addresses the balance of the equities and

public interest factors, which “merge when the Government is the

opposing party.” Nken, 556 U.S. at 434.

     Defendants argue that “the government and the public have

an interest in protecting the integrity of government’s valid

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orders.” Defs.’ Opp’n, ECF No. 147 at 45. However, as explained

above, this Court has determined that the Title 42 policy is

arbitrary and capricious, and “[t]here is generally no public

interest in the perpetuation of unlawful agency action.” League

of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir.

2016); see also Ramirez v. ICE, 310 F. Supp. 3d 7, 33 (D.D.C.

2018) (“The public interest surely does not cut in favor of

permitting an agency to fail to comply with a statutory

mandate.”); R.I.L-R, 80 F. Supp. 3d at 191 (“The Government

‘cannot suffer harm from an injunction that merely ends an

unlawful practice or reads a statute as required to avoid

constitutional concerns.’”). Because “there is an overriding

public interest . . . in the general importance of an agency’s

faithful adherence to its statutory mandate,” Jacksonville Port

Auth. v. Adams, 556 F.2d 52, 59 (D.C. Cir. 1977); the Court

concludes that an injunction in this case would serve the public

interest, see A.B.-B. v. Morgan, No. 20-cv-846, 2020 WL 5107548,

at *9 (D.D.C. Aug. 31, 2020) (“[T]he Government and public can

have little interest in executing removal orders that are based

on statutory violations . . . .”).

     Moreover, Defendants do not contend that issuing a

permanent injunction would cause them harm or be inconsistent

with the public health. Indeed, “CDC recognizes that the current

public health conditions no longer require the continuation of

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the August 2021 order,” Defs.’ Opp’n, ECF No. 147 at 44; see

also Pls.’ Mot., ECF No. 144-1 at 30, in view of the “less

burdensome measures that are now available,” 87 Fed Reg. at

19944; id. at 19949–50. The parties also do not dispute that

Plaintiffs continue to face substantial harm if they are

returned to their home countries, notwithstanding the

availability of USCIS screenings. See, e.g., Human Rights First,

The Nightmare Continues: Title 42 Court Order Prolongs Human

Rights Abuses, Extends Disorder at U.S. Borders, at 3-4 (June

2022). As the Supreme Court has explained, the public has a

strong interest in “preventing aliens from being wrongfully

removed, particularly to countries where they are likely to face

substantial harm.” Nken, 556 U.S. at 436.

      Therefore, the balance of the equities also favors

Plaintiffs.

IV.   Conclusion

      For the reasons stated above, the Court hereby GRANTS

Plaintiffs’ Motion for Partial Summary Judgment, ECF No. 144.

The Court vacates and sets aside the Title 42 policy—consisting

of the regulation at 42 C.F.R. § 71.40 and all orders and

decision memos issued by the Centers for Disease Control and

Prevention or the U.S. Department of Health and Human Services

suspending the right to introduce certain persons into the

United States; and declares the Title 42 policy to be arbitrary

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and capricious in violation of the Administrative Procedure Act

and permanently enjoins Defendants and their agents from

applying the Title 42 policy with respect to Plaintiff Class

Members. An appropriate Order accompanies this Memorandum

Opinion.

     SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           November 15, 2022




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